                                       Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 1 of 23 Page ID #:1



                                        1 ROBERT C. SCHUBERT (S.B.N. 62684)
                                        2 (rschubert@sjk.law)
                                          AMBER L. SCHUBERT (S.B.N. 278696)
                                        3 (aschubert@sjk.law)
                                        4 SCHUBERT JONCKHEER & KOLBE LLP
                                          Three Embarcadero Center, Suite 1650
                                        5 San Francisco, California 94111
                                        6 Telephone: (415) 788-4220
                                          Facsimile: (415) 788-0161
                                        7
                                        8 Counsel for Plaintiff McCracken
                                        9
Three Embarcadero Center, Suite 1650




                                                                 UNITED STATES DISTRICT COURT
SCHUBERT JONCKHEER & KOLBE LLP




                                       10
      San Francisco, CA 94111




                                       11                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
           (415) 788-4220




                                       12
                                                                          EASTERN DIVISION
                                       13
                                       14
                                       15    SARAH MCCRACKEN individually            Case No. 5:22-cv-01666
                                             and on behalf of all others situated;
                                       16
                                                                                     CLASS ACTION COMPLAINT
                                       17                       Plaintiffs,
                                                   v.                                CLASS ACTION
                                       18
                                       19
                                       20    KSF ACQUISITION CORPORATION,            DEMAND FOR JURY TRIAL
                                       21                       Defendant.
                                       22
                                       23
                                       24
                                       25
                                       26
                                       27
                                       28
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666
                                       Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 2 of 23 Page ID #:2



                                        1         Sarah McCracken (“McCracken” or “Plaintiff”) brings this consumer class
                                        2 action against Defendant KSF Acquisition Corporation (the “Defendant,” or the
                                        3 “Company,” or “SlimFast”) for the misleading and deceptive advertising of its
                                        4 SlimFast meal replacement products (the “SlimFast Products”). The Plaintiff’s
                                        5 allegations are based upon personal knowledge as to her own acts and upon her
                                        6 investigation, the investigation of counsel, and information and belief as to all other
                                        7 matters. Plaintiff, on behalf of herself and all others similarly situated, alleges:
                                        8                                    INTRODUCTION
                                        9         1.     This is a class action brought on behalf of purchasers of more than forty
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10 SlimFast Products, including shakes and meal bars, that were falsely advertised as
      San Francisco, CA 94111




                                       11 “Clinically Proven – Lose Weight And Keep It Off” (the “Clinically Proven Claim”)
           (415) 788-4220




                                       12 by Defendant.
                                       13         2.     SlimFast is an American company headquartered in Palm Beach
                                       14 Gardens, Florida that manufactures, markets, and distributes meal replacement
                                       15 products, including protein bars, smoothies, and snacks.
                                       16         3.     Over the last two decades, SlimFast has advertised over forty of their
                                       17 meal replacement products as having been clinically proven to cause and maintain
                                       18 weight loss. In an effort to deceitfully “prove” this, SlimFast’s website points to
                                       19 fifty-one studies published between 1999 and 2010 that supposedly prove that
                                       20 SlimFast Products cause and maintain weight loss.
                                       21         4.     However, SlimFast’s studies only demonstrate that SlimFast Products
                                       22 lead to weight loss if consumed with a low-calorie diet. No such clinical studies have
                                       23 been conducted regarding the effectiveness of SlimFast Products in “losing weight”
                                       24 or “keeping it off” independently of a low-calorie diet.
                                       25         5.     In the advertising of the SlimFast Products, the Company intentionally
                                       26 overgeneralizes the results gathered from the studies and disingenuously leads
                                       27 consumers to believe that the Company’s clinical trials ensuring weight loss
                                       28 encompass the SlimFast products.
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                        1
                                       Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 3 of 23 Page ID #:3



                                        1         6.     This deceptive advertising was recently brought to the attention of the
                                        2 National Advertising Division (“NAD”). NAD is a body within the independent
                                        3 non-profit BBB National Programs, which monitors and oversees the truthfulness
                                        4 and accuracy of advertising across United States corporations.
                                        5         7.     In September 2021, the NAD recommended that Defendant’s Clinically
                                        6 Proven Claim was unsubstantiated and should be discontinued. NAD stated that
                                        7 even though “the low-calorie feature of the SlimFast plan is clinically tested,” the
                                        8 claim is “not limited to consuming a low-calorie diet” (emphasis added). In other
                                        9 words, although consumers may lose weight through consuming a low-calorie diet
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10 (i.e., the Slim Fast plan), there are no clinical studies that prove that SlimFast’s
      San Francisco, CA 94111




                                       11 products result in weight loss—despite its advertising to the contrary. Accordingly,
           (415) 788-4220




                                       12 the NAD concluded that the message SlimFast conveyed through its Clinically
                                       13 Proven Claim was false and misleading.
                                       14         8.     On January 5, 2022, the National Advertising Review Board
                                       15 (“NARB”), the appellate law body of BBB National Programs, which consists of
                                       16 five-member panels, reaffirmed the NAD’s recommendation that SlimFast should
                                       17 “discontinue unqualified clinically proven claims for its SlimFast food products,
                                       18 including ‘Clinically Proven: Lose Weight and Keep it Off.’” The NARB also
                                       19 reiterated that the Company should “modify any claim by SlimFast that its
                                       20 controlled, low-calorie, meal replacement SlimFast Plan is ‘clinically proven’ by
                                       21 including in the body of the claim a statement explaining the three components of
                                       22 the Plan: Per day, one sensible meal, two meals replaced with shakes, smoothies or
                                       23 bars, and three snacks between meals to satisfy hunger.”1 The NARB further
                                       24 determined that Defendant’s SlimFast “clinically proven” product claims were
                                       25 unsubstantiated and recommended that they be discontinued.
                                       26
                                       27
                                       28   1
                                             https://bbbprograms.org/media-center/dd/slimfast-clinically-proven-claims
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                   2
                                       Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 4 of 23 Page ID #:4



                                        1         9.    By deceptively misrepresenting the effectiveness of its products,
                                        2 SlimFast has misled consumers into purchasing SlimFast Products and believing
                                        3 they were going to lose weight by doing so.
                                        4         10.   Plaintiff McCracken brings this claim individually and on behalf of the
                                        5 California Class who purchased SlimFast Products. In violation of California’s
                                        6 strong consumer protection and false advertising law, including California’s False
                                        7 Advertising Law (Bus. & Prof. Code §§ 17500 et seq.), Unfair Competition Law
                                        8 (Cal. Bus. & Prof. Code §§ 17200 et seq.), and the Consumers Legal Remedies Act
                                        9 (Civ. Code §§ 1750 et seq.), Defendant intentionally utilized deceptive trade
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10 practices and false and misleading claims to sell SlimFast Products.
      San Francisco, CA 94111




                                       11                                           PARTIES
           (415) 788-4220




                                       12         11.   Plaintiff Sarah McCracken is a citizen of the State of California. She
                                       13 resides in Desert Hot Springs, CA. Between 2018 and 2022, McCracken purchased
                                       14 the SlimFast Original Meal Replacement Shake Mix product from Walmart and
                                       15 Stater Bros. Markets in Riverside County. McCracken made these purchases at least
                                       16 every two weeks and drank one to two shakes per day. McCracken purchased this
                                       17 product because she believed, based on SlimFast’s statements, that it was clinically
                                       18 proven to cause and maintain weight loss. Specifically, McCracken saw and relied
                                       19 on SlimFast’s statements on the boxes that the products were “Clinically Proven –
                                       20 Lose Weight And Keep It Off.”
                                       21         12.   McCracken, however, did not lose weight nor keep it off over the two
                                       22 years she was utilizing the product.
                                       23         13.   McCracken purchased and paid substantially more for SlimFast
                                       24 Products than she would have if she had known the truth about the Products (that
                                       25 they are not clinically proven to lose weight or keep it off). McCracken has suffered
                                       26 actual damages in the form of her overpayment for SlimFast Products, which she
                                       27 purchased as a result of SlimFast’s misrepresentations and omissions. SlimFast did
                                       28 not inform McCracken of the truth about its weight loss claims. Had McCracken
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                     3
                                       Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 5 of 23 Page ID #:5



                                        1 known that the SlimFast products were not clinically proven to lose weight or keep it
                                        2 off, she would either not have purchased the Products or would have paid
                                        3 substantially less for them.
                                        4         14.    At present, McCracken has concerns about purchasing SlimFast
                                        5 Products for herself, as she does not know whether SlimFast’s advertising will
                                        6 continue to be false and misleading. In the future, McCracken would pay a premium
                                        7 for SlimFast Products if they were, in fact, clinically proven to lose weight and keep
                                        8 it off. In addition to restitution, McCracken also seeks injunctive relief to enjoin
                                        9 SlimFast from continuing to mislead her and other consumers through its false
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10 advertising.
      San Francisco, CA 94111




                                       11         15.    Defendant KSF Acquisition Corporation is a Delaware corporation with
           (415) 788-4220




                                       12 its headquarters located at 11780 US Highway 1 Ste 400N Palm Beach Gardens, FL,
                                       13 33408. Defendant was incorporated in 2014 and owns and conducts business as
                                       14 SlimFast.
                                       15         16.    KSF Acquisition Corporation, or SlimFast, manufactures, markets, and
                                       16 sells over forty SlimFast meal replacement products, including protein bars,
                                       17 smoothies, and snacks, to consumers both directly through their website and through
                                       18 retail stores, such as Walgreens, Target, Amazon, Publix, and The Vitamin Shoppe.
                                       19                                JURISDICTION AND VENUE
                                       20         17.    This Court has original jurisdiction over this action pursuant to the
                                       21 Class Action Fairness Act, 28 U.S.C. § 1332(d), because there are at least 100 class
                                       22 members, at least one class member is a citizen of a state other than that of KSF
                                       23 Acquisition Corporation, and the aggregate amount in controversy exceeds
                                       24 $5,000,000, exclusive of interest and costs.
                                       25         18.    Venue is proper in this District under 28 U.S.C. § 1391 because
                                       26 Defendant KSF Acquisition Corporation, Inc. is located in this District. KSF
                                       27 Acquisition Corporation has intentionally availed itself of the laws and markets of
                                       28 this District, and KSF Acquisition Corporation is subject to personal jurisdiction in
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                       4
                                       Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 6 of 23 Page ID #:6



                                        1 this District. Additionally, McCracken is a citizen of this District and purchased the
                                        2 SlimFast Products that are the subject of this litigation from retail stores located
                                        3 within this District.
                                        4                          RELEVANT FACTUAL ALLEGATIONS
                                        5 A.      The SlimFast Market
                                        6         19.   SlimFast is one of the most recognizable and popular brands in the
                                        7 weight loss plan and food product industry.
                                        8         20.   SlimFast was initially introduced in 1977 by Sim Daniel Abraham of
                                        9 the Thompson Medical Company as a low-calorie, meal-replacement diet plan and
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10 quickly gained popularity throughout the 1980s. The Company’s sudden success was
      San Francisco, CA 94111




                                       11 due to the combination of advancing a product line that adhered to the time period’s
           (415) 788-4220




                                       12 weight-loss beverage fad and effectively partnering with celebrities including Los
                                       13 Angeles Dodgers manager Tommy Lasorda and New York Mayor Ed Koch to
                                       14 promote their product.
                                       15         21.   In an October 19, 1989 LA Times article titled ‘Diet Company Ads Are
                                       16 Mixing Fame With Physique: Marketing: Celebrity endorsements have helped boost
                                       17 profits--and also fattened the wallets of some slimmed-down stars,’2 writer Alan
                                       18 Citron detailed that SlimFast had cut a deal with Lasorda, who was widely known as
                                       19 being a pasta lover, in which Lasorda would acquire a lucrative endorsement
                                       20 payment if he lost weight through their weight-loss program.
                                       21         22.   In 2000, global consumer goods company Unilever purchased SlimFast
                                       22 for $2.3 billion. Unilever’s skills did not immediately transfer to the weight loss
                                       23 industry, however, and sales decreased from over $600 million in 2000 to $550
                                       24 million in 2002. Unilever faced even more trouble when Dr. Robert Atkins’ low-
                                       25 carbohydrate, high-protein diet—the Atkins Low Carb Diet—surged in popularity in
                                       26 2003, further challenging SlimFast’s leading position in the weight-loss industry.
                                       27
                                       28   2
                                             https://www.latimes.com/archives/la-xpm-1989-10-16-fi-275-story.html
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                5
                                       Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 7 of 23 Page ID #:7



                                        1 Although the Atkins Low Carb Diet only remained popular until 2005, consumers’
                                        2 desire for a low-carbohydrate, high-protein diet remained.
                                        3        23.    With sales rapidly declining, Unilever sold SlimFast in 2014 to food
                                        4 and consumer brand specialist Kainos Capital for an undisclosed amount. In 2018,
                                        5 Kainos Capital sold SlimFast to Irish nutrition group Glanbia for $350 million.
                                        6        24.    SlimFast has four weight loss plans, all of which fall under The
                                        7 SlimFast Plan, including the Favorite Foods plan, SlimFast Low-Carb Plan, the
                                        8 SlimFast Keto plan, and the SlimFast Original plan. Consumers can either adhere to
                                        9 The SlimFast Plan or purchase and use SlimFast Products independently of The
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10 SlimFast Plan. Some consumers who sign up for The SlimFast Plan or have finished
      San Francisco, CA 94111




                                       11 The SlimFast Plan also end up purchasing and using individual SlimFast Products as
           (415) 788-4220




                                       12 occasional meal replacements to maintain their weight goals.
                                       13        25.    The Company offers SlimFast Products within six main product lines,
                                       14 including Original, Immunity, Advanced Nutrition, Advanced Energy, Low Carb,
                                       15 and Keto. All SlimFast Products prominently display the Clinically Proven Claim on
                                       16 the front of their packaging.
                                       17        26.    The following is the product packaging for the SlimFast Original
                                       18 Shakes:
                                       19
                                       20
                                       21
                                       22
                                       23
                                       24
                                       25
                                       26
                                       27
                                       28
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                    6
                                       Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 8 of 23 Page ID #:8



                                        1 See https://shop.slimfast.com/collections/ready-to-drink/products/slimfast-original-
                                        2 shakes (last viewed August 9, 2022).
                                        3
                                                  27.   The following is the product packaging for the SlimFast Original Shake
                                        4
                                            Mixes:
                                        5
                                        6
                                        7
                                        8
                                        9
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10
      San Francisco, CA 94111




                                       11
           (415) 788-4220




                                       12
                                       13
                                       14
                                            See https://shop.slimfast.com/collections/original/products/slimfast-original-shake-
                                       15
                                       16 mixes (last viewed August 9, 2022).
                                       17
                                                  28.   Below is the product packaging for the SlimFast Advanced Immunity
                                       18
                                            Orange Cream Swirl Smoothie Mix:
                                       19
                                       20
                                       21
                                       22
                                       23
                                       24
                                       25
                                       26
                                       27
                                       28
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                     7
                                       Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 9 of 23 Page ID #:9



                                        1 See https://shop.slimfast.com/collections/immunity/products/slimfast-advanced-
                                        2 immunity-orange-cream-swirl-smoothie-mix (last viewed August 9, 2022).
                                        3
                                                  29.   Below is the product packaging for the SlimFast Advanced Energy
                                        4
                                            Shakes:
                                        5
                                        6
                                        7
                                        8
                                        9
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10
      San Francisco, CA 94111




                                       11
           (415) 788-4220




                                       12
                                       13
                                       14
                                            See https://shop.slimfast.com/collections/advanced-energy/products/slimfast-
                                       15
                                            advanced-energy-shakes (last viewed August 9, 2022).
                                       16
                                                  30.   Below is the product packaging for the SlimFast Meal Bars:
                                       17
                                       18
                                       19
                                       20
                                       21
                                       22
                                       23
                                       24
                                       25
                                       26
                                       27
                                       28
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                   8
                                  Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 10 of 23 Page ID #:10



                                        1 See https://shop.slimfast.com/collections/low-carb/products/slimfast-meal-bars (last
                                        2 viewed August 9, 2022).
                                        3        31.    Below is the product packaging for the SlimFast Double Chocolate
                                        4 Mint Crunch Mini Snack Bar:
                                        5
                                        6
                                        7
                                        8
                                        9
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10
      San Francisco, CA 94111




                                       11
           (415) 788-4220




                                       12
                                       13
                                       14 See https://shop.slimfast.com/collections/low-carb/products/slimfast-double-
                                       15 chocolate-mint-crunch-mini-snack-bar (last viewed August 9, 2022).
                                       16        32.    Below is the product packaging for the SlimFast Keto Meal Shakes to
                                       17 Go:
                                       18
                                       19
                                       20
                                       21
                                       22
                                       23
                                       24
                                       25
                                       26
                                       27
                                       28
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                   9
                                  Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 11 of 23 Page ID #:11



                                        1         33.   See https://shop.slimfast.com/collections/keto/products/slimfast-keto-
                                        2 meal-shakes-to-go (last viewed August 9, 2022).
                                        3         34.   Below is the product packaging for the SlimFast Keto Fat Bomb Snack
                                        4 Cups:
                                        5
                                        6
                                        7
                                        8
                                        9
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10
      San Francisco, CA 94111




                                       11
           (415) 788-4220




                                       12
                                       13
                                       14 See https://shop.slimfast.com/collections/keto/products/keto-fat-bombs (last viewed
                                       15 August 9, 2022).
                                       16 B.      Brand Credibility Essential to Weight-Loss Brand Success
                                       17         35.   Brand credibility and the clinical backing of the efficacy of weight loss
                                       18 products is essential to those products’ success. Consumers seeking a health-related
                                       19 or lifestyle-related change fall into a particularly vulnerable demographic of people
                                       20 who can easily fall victim to the manipulative advertising of weight-loss treatment
                                       21 supplements or diets. These consumers may try several different brands or products
                                       22 until they find the one they trust and can rely on to achieve their desired goals.
                                       23         36.    In an oversaturated weight-loss product market, products that have
                                       24 undergone clinical testing and advertise proven weight-loss results have a
                                       25 significantly higher chance of standing out among competitor brands during the
                                       26 consumer product decision-making process.
                                       27         37.   SlimFast knew this and utilized malicious, false, and misleading
                                       28 marketing tactics to prey upon vulnerable consumers seeking weight-loss aid in
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                      10
                                  Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 12 of 23 Page ID #:12



                                        1 order to combat the Company’s decreasing dominance in the weight-loss industry.
                                        2 Defendant exploited its intimate knowledge of these inner-workings of the weight-
                                        3 loss industry by utilizing the Clinical Proven Claim to advertise all SlimFast
                                        4 Products, even though none of the SlimFast Products, independent of a low-calorie
                                        5 diet, have been clinically proven to cause or maintain weight-loss.
                                        6         38.   On its website, SlimFast cites fifty-one ‘Clinical Studies’ (the “Clinical
                                        7 Studies”) in an attempt to support its claim. However, SlimFast’s “supporting
                                        8 evidence” is “based on clinical studies demonstrating weight loss through a calorie-
                                        9 controlled diet comprised of one sensible meal, two meal replacements, and three
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10 snacks, regular exercise, and plenty of fluids.” (Ex. 1, hereto) (emphasis added).
      San Francisco, CA 94111




                                       11 None of these studies evaluated, let alone clinically proved, whether the SlimFast
           (415) 788-4220




                                       12 Products themselves cause or maintain weight loss. Accordingly, SlimFast misled
                                       13 consumers by using these studies to broadly claim that the SlimFast Products cause
                                       14 and maintain weight loss, even though the Products themselves, which are sold
                                       15 individually and in bundles, have never been clinically confirmed to cause or
                                       16 maintain weight loss.
                                       17         39.   Because SlimFast failed to disclose that the Clinically Proven Claims
                                       18 are based on a low-calorie diet (not the Products themselves), its prominent display
                                       19 of the claim on the boxes for the Products would mislead a reasonable consumer.
                                       20 C.      SlimFast’s Misleading Disclaimers on Its Website to Do Not Cure Its
                                       21         False Advertising on the SlimFast Products’ Boxes.
                                       22         40.   On the webpage for the SlimFast Products (“Product Webpage”),
                                       23 adherence to the SlimFast Plan is articulated as an option, but by no means
                                       24 necessary. Defendant makes three references to The SlimFast Plan, none of which
                                       25 would lead a consumer to believe they must adhere to The SlimFast Plan to achieve
                                       26 the results advertised by the Clinically Proven Claim.
                                       27         41.   First, the Company advertises The SlimFast Plan as one of the four
                                       28 “Ways to Enjoy” SlimFast Products. The four “Ways to Enjoy” include “The
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                      11
                                  Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 13 of 23 Page ID #:13



                                        1 SlimFast Plan – Replace two meals a day to lose the weight and keep it off”; “Blend
                                        2 it Up – Combine with ilk and ice to blend for a creamy & thick smoothie”; “No-Fuss
                                        3 Breakfast – Start your day with all the delicious nutrition you need”; “Make it Your
                                        4 Own – Get creative with customizable smoothie recipes.” Here, the SlimFast Plan is
                                        5 simply one of four ways consumers can enjoy each individual SlimFast product.
                                        6         42.      Second, the Product Webpages also claim that the SlimFast Products
                                        7 help consumers “Lose Weight and Keep it Off,” further reinforcing that “The
                                        8 SlimFast Plan combines over 40 years of weight loss success with tasty and
                                        9 satisfying products, to now also offer you optimal ketogenic nutrition. Follow the
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10 SlimFast Plan to help you lose weight fast and keep it off. See results in just one
      San Francisco, CA 94111




                                       11 week!”
           (415) 788-4220




                                       12         43.      Once again, adherence to The SlimFast Plan is simply suggestive. The
                                       13 Company does not make any claims that one must adhere to The SlimFast Plan in
                                       14 order to achieve the weight-loss results promised by its Clinically Proven Claim.
                                       15 Rather, the Clinically Proven Claim is prominently depicted in the SlimFast
                                       16 Product’s picture when consumers first access the product’s webpage.
                                       17         44.      Lastly, at the bottom of each Product Webpage, under each SlimFast
                                       18 Product’s title, description, nutritional and ingredients descriptions, photos, flavor
                                       19 and size choices, auto-delivery option, claims, and reviews, the subscription sign-up,
                                       20 and links to the Company’s social, customer service, and other SlimFast Resources,
                                       21 Defendant includes the following disclaimer:
                                       22
                                                        *Based on clinical studies demonstrating weight loss through a calorie-
                                       23
                                                        controlled diet comprised of one sensible meal, two meal replacements,
                                       24               and three snacks, regular exercise, and plenty of fluids. Average weight
                                       25               loss is 1-2 lbs per week. This product is intended to help manage carb &
                                                        sugar intake and not intended for the treatment or prevention of disease,
                                       26               including Diabetes Type I, Type II, or Gestational Diabetes.
                                       27
                                       28
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                        12
                                  Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 14 of 23 Page ID #:14



                                        1          45.   However, even if a consumer was able to find and view this disclaimer,
                                        2 it does not make any direct connection to The SlimFast Plan nor makes it clear that
                                        3 the separate Clinically Proven Claim was only accurate when combining SlimFast
                                        4 Products with a low-calorie diet.
                                        5 D.       SlimFast’s Misleading Disclaimers on the Back of Its Boxes
                                        6          Do Not Cure Its False Advertising on the Front
                                        7          46.   As depicted in the photos displayed on the Product Webpage, the front
                                        8 of the SlimFast Products’ packaging prominently features the Clinically Proven
                                        9 Claim.
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10          47.   During the NAD proceeding, SlimFast attempted to qualify the
      San Francisco, CA 94111




                                       11 Clinically Proven Claim by pointing to the fine-print disclaimers on the back of the
           (415) 788-4220




                                       12 packaging. These statements were located in small print among many other
                                       13 descriptions, disclaimers, and policies, stating “when used as part of the SlimFast
                                       14 Plan.”
                                       15          48.   The following is an example of the Alleged Claim Certification on the
                                       16 back of SlimFast Products packaging:
                                       17
                                       18
                                       19
                                       20
                                       21
                                       22
                                       23
                                       24
                                       25
                                       26
                                       27
                                       28
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                    13
                                  Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 15 of 23 Page ID #:15



                                        1 See https://www.amazon.com/SlimFast-Original-Replacement-Vitamins-
                                        2 Chocolate/dp/B000DZT0N0/ (last viewed August 10, 2022).
                                        3         49.   This is not an adequate disclosure. It is buried in the fine print on the
                                        4 back of the SlimFast Products, and it conflicts with SlimFast’s prominent and
                                        5 misleading advertising on the front of its boxes. Rather, upon viewing the Clinically
                                        6 Proven Claim prominently displayed on the front of the package, the reasonable
                                        7 conclusion is that the claim applies to the product on which it is placed, not some
                                        8 other weight-loss plan not included in the product’s purchase. No reasonable
                                        9 customer would conclude that SlimFast Products were not clinically proven to cause
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10 and maintain weight-loss simply because the Company included a contradictory
      San Francisco, CA 94111




                                       11 legal disclaimer on the back of the Products’ packages.
           (415) 788-4220




                                       12         50.   Moreover, Plaintiff did not see and was not aware of this disclaimer at
                                       13 the time she purchased the SlimFast Original Meal Replacement Shake Mix. Rather,
                                       14 she relied on the Clinically Proven Claim when deciding to purchase the SlimFast
                                       15 Original Meal Replacement Shake Mix. Indeed, she purchased the Product because
                                       16 she believed it would make her lose weight and keep it off.
                                       17         51.   Nor does the Product’s packaging state that, in order to achieve the
                                       18 “clinically proven” results, a consumer must follow a low-calorie diet. The legal
                                       19 disclaimer’s reference to “the SlimFast Plan” is vague and ambiguious, and it is not
                                       20 explained anywhere on the Products’ packaging.
                                       21         52.   SlimFast’s advertising would therefore mislead a reasonable consumer
                                       22 into believing that the Company’s current SlimFast Products were clinically tested
                                       23 and proven to cause and maintain weight loss, even though not a single one of these
                                       24 individual SlimFast Products underwent such testing. Indeed, that is exactly what
                                       25 Plaintiff McCracken believed based on SlimFast’s statements.
                                       26         53.   SlimFast knew that the SlimFast Products and the SlimFast Plan are not
                                       27 the same thing, and its decision to conflate the two through its advertisng violated
                                       28 California’s laws prohibiting false and misleading advertisng.
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                        14
                                  Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 16 of 23 Page ID #:16



                                        1                             CLASS ACTION ALLEGATIONS
                                        2         54.      Plaintiff brings this action as a class action pursuant to Federal Rule of
                                        3 Civil Procedure 23(b)(2) and 23(b)(3) on behalf of herself and a proposed Class
                                        4 defined as follows:
                                        5                     All persons who purchased SlimFast Products with the Clinically
                                        6                     Proven Claim in the State of California (the “Class”)
                                        7         55.      Numerosity Under Rule 23(a)(1). The Class is so numerous that the
                                        8 individual joinder of all members is impracticable, and the disposition of the claims
                                        9 of all Class members in a single action will provide substantial benefits to the parties
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10 and the Court. Plaintiffs, on information and belief, allege that the Nationwide Class
      San Francisco, CA 94111




                                       11 includes at least thousands of persons.
           (415) 788-4220




                                       12         56.      Commonality Under Rule 23(a)(2). Common legal and factual
                                       13 questions exist that predominate over any questions affecting only individual
                                       14 members. These common questions, which do not vary among Class members and
                                       15 which may be determined without reference to any Class member’s individual
                                       16 circumstances, include, but are not limited to:
                                       17         a) Whether SlimFast should have known that SlimFast Products were not
                                       18               clinically proven to cause and maintain weight loss;
                                       19         b) Whether SlimFast’s representations and omissions in advertising and/or
                                       20               labeling are false, deceptive, and misleading;
                                       21         c) Whether SlimFast had knowledge that its representations and omissions in
                                       22               advertising and/or labeling is false, deceptive, and misleading;
                                       23         d) Whether SlimFast’s representations and omissions in advertising and/or
                                       24               labeling are likely to deceive a reasonable consumer;
                                       25         e) Whether SlimFast knew or should have known that reasonable consumers
                                       26               rely on the clinical backing of the efficacy of weight loss;
                                       27         f) Whether SlimFast engaged in unlawful, fraudulent, or unfair business
                                       28               practices;
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                          15
                                  Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 17 of 23 Page ID #:17



                                        1         g) Whether SlimFast’s conduct violated the applicable state consumer
                                        2               protection laws alleged herein;
                                        3         h) Whether SlimFast is subject to liability for violating the California False
                                        4               Advertising Law (“FAL”) Cal. Bus. & Prof. Code §§ 17500 et seq.;
                                        5         i) Whether SlimFast has violated the Unfair Competition Law (“UCL”), Cal.
                                        6               Bus. & Prof. Code §§ 17200 et seq.;
                                        7         j) Whether SlimFast is subject to liability for violating the Consumers Legal
                                        8               Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750 et seq.;
                                        9         k) Whether, because of SlimFast’s omissions and/or misrepresentations of
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10               material facts, Plaintiff and members of the Class have suffered an
      San Francisco, CA 94111




                                       11               ascertainable loss of monies and/or property and/or value; and
           (415) 788-4220




                                       12         l) Whether Plaintiff and members of the Class and are entitled to declaratory
                                       13               and injunctive relief.
                                       14         57.      Typicality Under Rule 23(a)(3). Plaintiff’s claims are typical of the
                                       15 Class members’ claims. SlimFast’s course of conduct caused Plaintiff and the Class
                                       16 members the same harm, damages, and losses as a result of its unlawful conduct.
                                       17 Likewise, Plaintiff and other Class members must prove the same facts in order to
                                       18 establish the same claims.
                                       19         58.      Adequacy of Representation Under Rule 23(a)(4). Plaintiff is an
                                       20 adequate Class representative because she is a member of the Class, and her interests
                                       21 do not conflict with the interests of the Class. Plaintiff has retained counsel
                                       22 competent and experienced in complex litigation and consumer protection class
                                       23 action matters such as this action, and Plaintiff and her counsel intend to prosecute
                                       24 this action for the Class’s benefit and have the resources to do so. Plaintiff and her
                                       25 counsel have no interests adverse to those of the other members of the Class.
                                       26         59.      Superiority. The Class can be properly maintained because the above
                                       27 common questions of law and fact predominate over any questions affecting
                                       28 individual Class Members. A class action is also superior to all other available
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                          16
                                  Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 18 of 23 Page ID #:18



                                        1 methods for the fair and efficient adjudication of this controversy because individual
                                        2 litigation of each Class member’s claim is impracticable. Even if each Class member
                                        3 could afford individual litigation, the court system could not. It would be unduly
                                        4 burdensome if thousands of individual cases proceeded. Individual litigation also
                                        5 presents the potential for inconsistent or contradictory judgments, the prospect of a
                                        6 race to the courthouse, and the risk of an inequitable allocation of recovery among
                                        7 those individuals with equally meritorious claims. It would increase the expense and
                                        8 delay to all parties and the Courts because it requires individual resolution of
                                        9 common legal and factual questions. By contrast, the class action device presents far
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10 fewer management difficulties and provides the benefit of a single adjudication,
      San Francisco, CA 94111




                                       11 economies of scale, and comprehensive supervision by a single court.
           (415) 788-4220




                                       12                             FIRST CLAIM FOR RELIEF
                                                           Violations Of The California False Advertising Law
                                       13
                                                                  Cal. Bus. & Prof. Code §§ 17500 et seq.
                                       14                    On Behalf of Plaintiff McCracken and the Class
                                       15         60.   Plaintiff McCracken, individually and on behalf of the Class,
                                       16 incorporates by reference all the allegations contained in the preceding paragraphs of
                                       17 this Class Action Complaint as if fully set forth herein.
                                       18         61.   SlimFast engaged in the advertising and marketing alleged herein with
                                       19 the intent to directly or indirectly influence the sale of SlimFast Products to
                                       20 customers, including Plaintiff.
                                       21         62.   SlimFast knew or should have known that the Clinically Proven Claim
                                       22 was likely to deceive a reasonable consumer purchasing individual SlimFast
                                       23 Products.
                                       24         63.   SlimFast’s Clinically Proven Claim is false, misleading, and deceptive
                                       25 in violation of the California False Advertising Law.
                                       26         64.   SlimFast’s deceitful business practices constitute false advertising
                                       27 conduct, allowing Plaintiff McCracken and the Class to seek equitable relief under
                                       28 the California False Advertising Law.
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                      17
                                  Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 19 of 23 Page ID #:19



                                        1                              SECOND CLAIM FOR RELIEF
                                        2                   Violations Of The California Unfair Competition Law
                                        3                           Cal. Bus. & Prof. Code §§ 17200 et seq.
                                        4                       On Behalf of Plaintiff McCracken and the Class
                                        5         65.      Plaintiff McCracken, individually and on behalf of the Class,
                                        6 incorporates by reference all the allegations contained in the preceding paragraphs of
                                        7 this Class Action Complaint as if fully set forth herein. Plaintiff McCracken brings
                                        8 this claim individually and on behalf of the Class against SlimFast. SlimFast’s
                                        9 conduct as alleged in this complaint comprises unfair, unlawful, and fraudulent
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10 conduct within the meaning of the California Unfair Competition Law.
      San Francisco, CA 94111




                                       11         66.      The California Unfair Competition Law (“UCL”), Cal. Bus. & Prof.
           (415) 788-4220




                                       12 Code §§ 17200 et seq., is a California statute that protects consumers against
                                       13 unlawful, unfair, misleading, and fraudulent business and advertising practices.
                                       14         67.      SlimFast’s actions as alleged herein constitute an “unlawful” practice
                                       15 within the definition, meaning, and construction of California’s UCL because
                                       16 SlimFast violated California’s strong consumer protection and false advertising
                                       17 laws, including California’s False Advertising Law (Bus. & Prof. Code §§ 17500 et
                                       18 seq.) and the CLRA (Civ. Code §§ 1750, et seq.).
                                       19         68.      SlimFast’s actions as alleged in this complaint constitute “unfair”
                                       20 conduct within the definition, meaning, and construction of California Business and
                                       21 Professions Code Sections 17200 et seq. Slimfast’s business practices, as alleged
                                       22 herein, are “unfair” because they utilize immoral, deceptive, and fraudulent
                                       23 marketing practices that cause substantial injuries to customers.
                                       24         69.      SlimFast’s “unfair” business practices include:
                                       25         a) Intentionally utilizing clinical studies that were only conducted within the
                                       26               bounds of a low-calorie diet to generally advertise all SlimFast Products
                                       27               that do not require adherence to a low-calorie diet; and
                                       28
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                         18
                                  Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 20 of 23 Page ID #:20



                                        1         b) Failing to clearly and openly disclose that the Clinically Proven Claim is
                                        2               based on a low-calorie diet.
                                        3         70.      SlimFast’s actions as alleged herein constitute a “fraudulent” practice
                                        4 because, by making the false and misleading Clinically Proven Claim on the front of
                                        5 its Products, SlimFast’s conduct was likely to deceive, and did deceive, reasonable
                                        6 consumers. SlimFast’s failure to adequately disclose that the Clinically Proven
                                        7 Claim did not apply to the SlimFast Products themselves also constitutes a material
                                        8 omission in violation of the UCL.
                                        9         71.      As a result of SlimFast’s unlawful, unfair, and fraudulent conduct,
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10 Plaintiff McCracken and the Class received an inferior product for that which they
      San Francisco, CA 94111




                                       11 were promised. The product they received had, in fact, never been clinically proven
           (415) 788-4220




                                       12 to cause and maintain weight loss, which is the sole reason consumers initially
                                       13 purchased and continued to purchase SlimFast Products.
                                       14         72.      Pursuant to Business and Professions Code Section 17200 et seq.,
                                       15 SlimFast’s deceitful business practices constitute “unfair” competition. Plaintiff
                                       16 McCracken and the Class seek equitable relief, including restitution, to remedy
                                       17 SlimFast’s deceptive marketing and advertising.
                                       18                               THIRD CLAIM FOR RELIEF
                                       19                     Violations Of The Consumer Legal Remedies Act
                                       20                                Cal. Civ. Code §§ 1750 et seq.
                                       21                       On Behalf of Plaintiff McCracken and the Class
                                       22         73.      Plaintiff McCracken, individually and on behalf of the Class,
                                       23 incorporates by reference all the allegations contained in the preceding paragraphs of
                                       24 this Class Action Complaint as fully set forth herein.
                                       25         74.      Plaintiff McCracken brings this claim individually and on behalf of the
                                       26 Class against SlimFast.
                                       27
                                       28
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                         19
                                  Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 21 of 23 Page ID #:21



                                        1         75.    The Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code
                                        2 §§ 1750 et seq., is a California statute enacted to protect consumers involved in a
                                        3 transaction against unfair and deceptive business practices.
                                        4         76.    SlimFast is a “person” under Cal. Civ. Code § 1761(c).
                                        5         77.    Plaintiff McCracken and the Class are “consumers” under Cal. Civ.
                                        6 Code § 1761(d).
                                        7         78.    In violation to the CLRA, SlimFast engaged in unfair and deceptive
                                        8 business practices by (a) advertising the weight loss aspect of SlimFast Products in a
                                        9 false and misleading way and (b) representing that SlimFast Products have benefits
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10 and qualities they do not have.
      San Francisco, CA 94111




                                       11         79.    Slimfast intentionally provided Plaintiff McCracken and the Class with
           (415) 788-4220




                                       12 products containing weight loss misrepresentations.
                                       13         80.    Plaintiff McCracken and the Class relied on Slimfast’s weight loss
                                       14 misrepresentations in purchasing the Products.
                                       15         81.    As a result of Slimfast’s conduct, Plaintiff McCracken and the Class
                                       16 received an inferior product from that which they were promised.
                                       17         82.    Plaintiff McCracken, individually and on behalf of the Class, demands
                                       18 judgment against SlimFast under the CLRA for injunctive relief.
                                       19         83.    Pursuant to Cal. Civ. Code § 1782(a), Plaintiff McCracken will serve
                                       20 SlimFast with notice of its alleged violations of the CLRA by certified mail return
                                       21 receipt requested. If, within thirty days after the date of such notification, SlimFast
                                       22 fails to provide appropriate relief for its violations of the CLRA, Plaintiff
                                       23 McCracken reserves her right to amend this Class Action Complaint to seek
                                       24 monetary damages under the CLRA.
                                       25         84.    Notwithstanding any other statements in this Class Action Complaint,
                                       26 Plaintiff McCracken does not seek monetary damages in connection with her CLRA
                                       27 claims, and will not do so, until the applicable thirty-day period has passed.
                                       28
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                        20
                                  Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 22 of 23 Page ID #:22



                                        1                                PRAYER FOR RELIEF
                                        2        WHEREFORE, Plaintiff, on behalf of herself and the Class, requests that the
                                        3 Court order the following relief and enter judgment against SlimFast as follows:
                                        4        A.    An Order certifying the proposed Class under Fed. R. Civ. Proc. 23;
                                        5        B.    An Order appointing Plaintiff to represent the Class;
                                        6        C.    A declaration that SlimFast engaged in the illegal conduct alleged
                                        7              herein;
                                        8        D.    An Order that SlimFast be permanently enjoined from its improper
                                        9              activities and conduct described herein;
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10        E.    A Judgment awarding Plaintiff and the Class restitution and
      San Francisco, CA 94111




                                       11              disgorgement of all compensation obtained by SlimFast from its
           (415) 788-4220




                                       12              wrongful conduct;
                                       13        F.    Prejudgment and post-judgment interest at the maximum allowable rate;
                                       14        G.    An Order awarding Plaintiff and the Class reasonable litigation
                                       15              expenses, costs, and attorneys’ fees;
                                       16        H.    An Order awarding such other injunctive and declaratory relief as is
                                       17              necessary to protect the interests of Plaintiff and the Class; and
                                       18        I.    An Order awarding such other and further relief as the Court deems
                                       19              necessary, just, and proper.
                                       20                                   JURY DEMAND
                                       21        Plaintiffs hereby demand a trial by jury for all claims and issues so triable.
                                       22
                                       23
                                       24
                                       25
                                       26
                                       27
                                       28
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                                       21
                                  Case 5:22-cv-01666-SB-SHK Document 1 Filed 09/21/22 Page 23 of 23 Page ID #:23



                                        1 Dated: September 21, 2022       SCHUBERT JONCKHEER & KOLBE LLP
                                        2
                                                                          /s/ Amber L. Schubert_______________
                                        3
                                        4                                 AMBER L. SCHUBERT (S.B.N. 278696)
                                                                          ROBERT C. SCHUBERT (S.B.N. 62684)
                                        5                                 SCHUBERT JONCKHEER & KOLBE
                                        6                                 LLP
                                                                          Three Embarcadero Center, Suite 1650
                                        7                                 San Francisco, California 94111
                                        8                                 Telephone: (415) 788-4220
                                                                          Facsimile: (415) 788-0161
                                        9                                 E-mail:            rschubert@sjk.law
Three Embarcadero Center, Suite 1650
SCHUBERT JONCKHEER & KOLBE LLP




                                       10                                                    aschubert@sjk.law
      San Francisco, CA 94111




                                       11
           (415) 788-4220




                                       12                                 Counsel for Plaintiff McCracken
                                       13
                                       14
                                       15
                                       16
                                       17
                                       18
                                       19
                                       20
                                       21
                                       22
                                       23
                                       24
                                       25
                                       26
                                       27
                                       28
                                            Class Action Complaint
                                            Case No. 5:22-cv-01666                                          22
